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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,            )
                                     )
                Plaintiff,           )
                                     )                4:05CR3032
           v.                        )
                                     )
RICARDO PERALES,                     )
SILVANO MICHEL and                   )                   ORDER
JESSICA YVONNE SERVIN,               )
                                     )
                Defendant.           )
                                     )


     On the court’s own motion,

     IT IS ORDERED,

     1. The evidentiary hearing on defendants’ motions to
suppress evidence, filings 21, 22, 34 and 39, is continued from
July 27 to August 26, 2005 at 9:30 a.m. in Courtroom #2, United
States Courthouse and Federal Building, 100 Centennial Mall
North, Lincoln, Nebraska. The hearing is scheduled for a
duration of six hours. In the event counsel believe additional
time is or may be necessary, they should contact my courtroom
deputy as soon as practicable.

     2. Copies of all exhibits expected to be offered into
evidence during the hearing, except those to be used for
impeachment only, shall be delivered to the chambers of the
undersigned at least two working days prior to the hearing.

     DATED this 19th day of July, 2005.

                                    BY THE COURT:


                                    s/   David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge
